A   Case 1:16-cr-20575-RNS Document 76 Entered on FLSD Docket 04/11/2018 Page 1 of 2


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                                                                                 STEVEN M .LARIMORE
                             Consulodo deColombio en M iami                      CLERK tl s Dlsq'c'r
                                                                                  s.D ofF A - MIAMI

     CGC. 5787                                                  M iam i,M arch 22th, 2018


     CLERK O F CO URTS
     United States District
     Southern D istrictof Florida
     400 N M iam iAve
     M iam i,FL 33128
                                                REF.:CASTANEDA-BENAVIDEZ YINA
                                                CASE #:16-20575-C R-SCO L> O TAZO -REYES
     DearClerk:


     The Consulate Generalhas been directed by the M inistry ofForeign Affairs ofColom bia
     to forward the follow ing documents forfiling to the coud and to the interested padies in
     the case above:
     .  Copy of Diplom atic Note 1941 dated Novem ber 18, 2017, which contains the
         -

     assurances m ade by the Government of the United States to the Governm ent of
     Colom bia,in regards to the above extradi
                                             tion.
       Copy ofthe Resolution 272 dated July 19!2017,and Resolution 356 dated October
      . -

     17,2017 by which the M inistry of the Interlor and Justice of Colom bia decided and
     confirm ed the requestforextradition ofDefendant.Itis im podantto underline thatadicle
     third (3)ofthe formerResolution provide asfollows.
      ''Fo warn the Requisitioning State on the factthatthe citizen extradited m ay notbe tried
     orconvicted forany prioractotherthan the reason forthe presentextradition according
     with the constitutionaland Iegalprovisions, and, particularly with those contained in
     paragraph 1stSection 494 ofLaw 906/2004''.
      Hence,should Defendantbe convicted,we respectfully requestthatyou provide us with
      a copy ofthe OrderofJudgmentand Com m itm ent.
     The Consulate GeneralofColom bia appreciates aIIthe attention thatyou can offerto this
      m atter.
      Cordially,

                                      .,                Ajyjj
                                      M ARTA JARAM ILLO
                                        ConsulGeneral
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